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        &lt;div&gt;&lt;header&gt;&lt;p id="Page" data-paragraph-id="35c0804c86"&gt; 1 &lt;/p&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="0c4023ae16"&gt;&lt;span data-sentence-id="747604faf2" quote="false" data-paragraph-id="0c4023ae16"&gt; Mark Reaman, in his capacity as editor of the Crested Butte News, Petitioner/Cross-Respondent &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="96d00a01ec" quote="false" data-paragraph-id="0c4023ae16"&gt; &lt;br /&gt; Andrew Brookhart, in his official capacity as the executive director and custodian of records of the Gunnison County Library District.&lt;/span&gt;&lt;span data-sentence-id="1419f2bceb" quote="false" data-paragraph-id="0c4023ae16"&gt; Respondent/Cross-Petitioner &lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="d881c5b00e"&gt;No. 23SC823&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="4afc352e0c"&gt;July 22, 2024&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="aae4621f29"&gt;&lt;span data-sentence-id="9227f639a8" quote="false" data-paragraph-id="aae4621f29"&gt; Court of Appeals Case No. 22CA1119 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="d49c11812e"&gt;&lt;span data-sentence-id="e95688d557" quote="false" data-paragraph-id="d49c11812e"&gt; Petition and Cross-Petition for Writ of Certiorari DENIED.&lt;/span&gt; &lt;/p&gt;
 &lt;p id="Judge" data-paragraph-id="84cafd3d3e"&gt;&lt;span data-sentence-id="57dd374808" quote="false" data-paragraph-id="84cafd3d3e"&gt; CHIEF JUSTICE BOATRIGHT would grant as to the following issues: &lt;/span&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="e8a9070eaa"&gt;&lt;span data-sentence-id="dd32e0d660" quote="false" data-paragraph-id="e8a9070eaa"&gt; Whether the Colorado court of appeals erred as a matter of law when it concluded that individuals who submitted Request for Reconsideration Forms to a library meet the definition of a "user" of a library "service" as defined in section 24-72-204(3)(a)(VII), C.R.S. (2023), and section 24-90-119, C.R.S (2023).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="a5f05142bd"&gt;&lt;span data-sentence-id="87f76c2edf" quote="false" data-paragraph-id="a5f05142bd"&gt; Whether the Colorado court of appeals erred as a matter of law in holding that identifying information of a person who submits a Request for Reconsideration Form to a library must be redacted from the form if it is produced under section 24-72-204(3)(a)(VII), C.R.S. (2023), because the member of the public qualifies as a library "user," as such term is employed in that statute and section 24-90-119, C.R.S. (2023).&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="24a69071fe"&gt;&lt;span data-sentence-id="8950fb3593" quote="false" data-paragraph-id="24a69071fe"&gt; Whether the court of appeals erred as a matter of law in applying the rules of statutory construction by ignoring the plain meaning of and legislative intent for section 24-72-204(3)(a)(VII), C.R.S. (2023), and section 24-90-119, C.R.S. (2023), and instead construed these statutes in a manner that engrafts an overly broad, impracticable, and absurd construction that the Colorado General Assembly could not have intended.&lt;/span&gt; &lt;/p&gt;&lt;/div&gt;
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